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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI’I

UNITED STATES OF AMERICA,      )           CR NO. 05-00490 HG
                               )
               Plaintiff,      )           REPORT AND RECOMMENDATION
     vs.                       )           CONCERNING PLEA OF GUILTY
                               )
KEONI HYLTON,                  )
                               )
               Defendant.      )
______________________________ )


                            REPORT AND RECOMMENDATION
                            CONCERNING PLEA OF GUILTY

                The defendant, by consent, has appeared before me pursuant

to Rule 11, Fed.R.Crim.P., and has entered a plea of guilty to Counts

2 and 5 of the Superseding Indictment.           After examining the defendant

under oath, I determined that the defendant is fully competent and
capable of entering an informed plea, that the guilty plea was

intelligently, knowingly and voluntarily made, and that the offense

charged is supported by an independent basis in fact establishing each

of the essential elements of such offense.                I further determined that

the defendant intelligently, knowingly and voluntarily waived the

right to appeal or collaterally attack the sentence except as provided

in the plea agreement.        I therefore recommend that the plea of guilty

be accepted and that the defendant be adjudged guilty and have

sentence imposed accordingly.

                IT IS SO RECOMMENDED.

                DATED: Honolulu, Hawai’i, January 24, 2006.




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                                  _____________________________
                                  Leslie E. Kobayashi
                                  United States Magistrate Judge




                                       NOTICE

     Failure to file written objections to this Report and
Recommendation within ten (10) days from the date of its service shall
bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. §
636(b)(1)(B).




U.S.A. vs. KEONI HYLTON; CR NO. 05-00490 HG; REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY




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